Case 1:20-cv-02007-SEB-TAB Document 15 Filed 08/21/20 Page 1 of 1 PageID #: 121




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 COMMON CAUSE INDIANA,                                )
 INDIANA STATE CONFERENCE OF THE                      )
 NAACP,                                               )
                                                      )
                               Plaintiffs,            )
                                                      )
                          v.                          )        No. 1:20-cv-02007-SEB-TAB
                                                      )
 CONNIE LAWSON in her official capacity as            )
 Indiana Secretary of State,                          )
 PAUL OKESON in their official capacities as          )
 members of the Indiana Election Commission,          )
 S. ANTHONY LONG in their official capacities         )
 as members of the Indiana Election Commission,       )
 SUZANNAH WILSON OVERHOLT in their                    )
 official capacities as members of the Indiana        )
 Election Commission,                                 )
 ZACHARY E. KLUTZ in their official capacities        )
 as members of the Indiana Election Commission,       )
                                                      )
                               Defendants.            )

                ORDER SETTING TELEPHONIC STATUS CONFERENCE

        This matter is set for a telephonic status conference at 11 a.m. on August 26, 2020,

 before Magistrate Judge Tim A. Baker. Parties shall appear by counsel. The information needed

 by counsel of record to participate in this telephonic conference will be provided by separate

 notification. The purpose of this conference is to set a briefing schedule.

        Date: 8/21/2020
                                             _______________________________
                                              Tim A. Baker
                                              United States Magistrate Judge
                                              Southern District of Indiana


 Distribution to all counsel of record via ECF.
